Case 2:04-cr-20286-BBD Document 38 Filed 08/24/05 Page 1 of 2 Page|D 50

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IN THE UNITED STATES DISTRICT COURT
FoR THE wEsTERN DISTRICT or TENNESSEE 05 hug 214 m 9= u?
WESTERN DIVISION
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UNITED STATES OF AMERICA ` -7.1" vs
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vs. *

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KATRINA R. NEWSON *
a/k/a Katrina R. Newsom

04cr20286-D

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August 23, 2005, Katrina R. Newson a/k/a Katrina R. Newsom appeared before me on
a charge of violation of the terms and conditions of her probation in this matter. The defendant had
previously been advised of her rights under Fed.R.Crim.P. 5 and 32. l(a) and counsel was retained.

At this hearing, counsel indicated that defendant Katrina R. Newson a/k/a Katrina R.
Newsom wished to waive her right to a preliminary hearing or probable cause hearing and have this
matter remanded to the United States District Court.

Accordingly, defendant is held to a final revocation hearing before United States District
Judge Bernice B. Donald. It is presumed that the District Judge will set this matter for a revocation
hearing pursuant to Fed.R.Crim.P. 32.l(b), (c), and will see that appropriate notices are given.

IT ls so oRDERED this 2# day of

  

 

TU`M. PHAl\"J
UNITED sTA'rEs MAGISTRATE JUDGE

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UNITED sATE 'ST'IIC COURT - wESTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 38 in
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Honorable Bernice Donald
US DISTRICT COURT

